                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:16-cr-00074-MOC-DSC


 UNITED STATES OF AMERICA,                 )
                                           )
                                           )
 v.                                        )                    ORDER
                                           )
 JERITON LAVAR CURRY,                      )
                                           )
                Defendant.                 )




        THIS MATTER is before the court on defendant’s pro se Motion to File § 1983

Civil Suit and Due Process Claim (#243). Having considered defendant’s motion and

reviewed the pleadings, the court enters the following Order.

        As defendant is currently represented by counsel, this pro se Motion (#243) with

regard to the criminal case captioned above must be denied pursuant to Local Criminal

Rule 47.1(H). This dismissal does not extend to the potential filing of a civil suit under

Section 1983 or any related cause of action based on the allegations contained within the

Motion (#243). The defendant and defense counsel are encouraged to review the ex parte

Order in this matter (#242), specifically the portion of that Order regarding medical

treatment while the defendant is being held in Mecklenburg County jail.

                                        ORDER

        IT IS, THEREFORE, ORDERED that defendant’s pro se Motion to File § 1983

Civil Suit and Due Process Claim (#243) is DENIED, without prejudice, pursuant to


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Local Criminal Rule 47.1(H) as the defendant is presently represented by counsel.

       IT IS FURTHER ORDERED that the Motion (#243) be SEALED from the public

docket until further order of this court as it contains the defendant’s medical information.

           Signed: May 23, 2017




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